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 4
   Attorney for Defendant,
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 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,           )                No. CR S 05-0034 LKK
11                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
12                                       )                RE EXCLUDABLE TIME AND
           v.                            )                MODIFICATION OF PRETRIAL
13                                       )                MOTION SCHEDULE
     JAY BRIAN McCASTLE, DAVID           )
14   TALCOTT USSERY, ROBERT              )
     ROBINSON and LINDA ANN CHANEY, )                     Date: November 15, 2005
15                                       )                Time: 9:30 a.m.
                 Defendants.             )                Court: Honorable Lawrence K. Karlton,
16   ____________________________________)                United States Senior District Court Judge
17 The parties hereby stipulate to the following:
18 1.      This matter is now set for hearing on motions on November 15, 2005, at 9:30 a.m.
19         Counsel for Jay McCastle has filed several motions scheduled for hearing which have
20         been joined in by counsel for defendant Ussery. Counsel for Mr. Ussery has filed a
21         motion to dismiss which has been joined in by defendant McCastle.
22 2.      The parties herein are attempting to resolve this matter by way of plea, and additional
23         time is needed in order to engage in plea negotiations, and to discuss possible pleas with
24         the defendants. Additionally, the government requests additional time to respond to the
25         defense motions filed. Therefore, it is requested that the motion hearing date be deemed a
26         status conference, and that motions not be heard on that date. It is anticipated that, if
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 1          necessary, a subsequent motion hearing date and briefing schedule will be discussed at
 2          the November 15, 2005 status conference. The government shall have no obligation to
 3          respond to the motions filed pending modification of the motion hearing date and briefing
 4          schedule.
 5 3.       The parties stipulate, and the court is requested to order, that time continued to be
 6          excluded pursuant to Local Code E, 18 U.S.C. 3161(h)(1)(F), as motions are pending, and
 7          pursuant to Local Code T4, 18 U.S.C. 3161(h)(8)(B)(iv), for preparation of counsel.
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 9
10 DATED: November 3, 2005                 /s/ Tim Warriner, Attorney for defendant,
                                           JAY BRIAN McCASTLE
11
     DATED: November 3, 2005               /s/ James Ralph Greiner, Attorney for defendant,
12                                         DAVID TALCOTT USSERY
13 DATED: November 3, 2005                 /s/ Christopher Haydn-Meyer, Attorney for defendant,
                                           ROBERT ROBINSON
14
     DATED: November 3, 2005               /s/ Jan David Karowsky, Attorney for defendant,
15                                         LINDA ANN CHANEY
16 DATED: November 3, 2005                 /s/ Anne Pings, Assistant United States Attorney,
                                           Attorney for the Government
17
18                                                ORDER
19          GOOD CAUSE APPEARING, it is hereby ordered that the November 15, 2005 motion
20 hearing date be vacated and that the matter instead be set for status conference on that date. It is
21 further ordered that time continue to be excluded pursuant to Local Code E, 18 U.S.C.
22 3161(h)(1)(F), as motions are now pending, and for preparation of counsel pursuant to Local
23 Code T4, 18 U.S.C. 3161(h)(8)(B)(iv).
24
25 DATED: November 3, 2005                         /s/ Lawrence K. Karlton
                                                   HONORABLE LAWRENCE K. KARLTON
26                                                 Senior, UNITED STATES DISTRICT JUDGE
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